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                     UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                                Eastern Division

Bodyguard Productions, Inc.
                                  Plaintiff,
v.                                                Case No.: 1:17−cv−07670
                                                  Honorable Sharon Johnson Coleman
Does 1−27
                                  Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, November 14, 2017:


       MINUTE entry before the Honorable Sharon Johnson Coleman: Motion hearing
held on 11/14/2017. Plaintiff's motion for Leave to Take Discovery Prior to Rule 26(f)
Conference [8] is granted. Status hearing set for 1/5/2018 at 09:00 AM. Mailed notice
(rth)




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